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                  IN THE UNITED STATES DISTRICT COURT FOR THE

                             EASTERN DISTRICT OF VIRGINIA


                                       Alexandria Division
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                                                                                     AUG

                                                                                CLERK. U.S. DISTRICT COURT
                                                                                   ALEXANDRI^. V^INIA
   UNITED STATES OF AMERICA
                                                                                                  (2A
                   V.                           Criminal No. I:I9-CR-253


         DALLMANN,ET AL.




                                 PRAF.CIPF. FOR SUBPOENA


       It is respectfully requested that the Clerk of said Court issue subpoenas as Indicated

below for appearance before said Court at Alexandria, Virginia in United States District Court at

2:00 o'clock p.m., on the 17th day of September 2020,then and there to testify on behalf ofthe

United States:


                                        2 sets(4 blanks)

       This 11*^ day of August,2020.

                                                     Respectfully submitted,

                                                     G. Zachary Terwilliger
                                                     United States Altoniey
                                                                            Digitally signed by
                                                                      7^ ALEXANDER BERRANG
                                             By:
                                                     Alexander P. Berrang
                                                     Assistant United States Attorney
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